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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,            )
                                     )
                         Plaintiff,  )                 CRIMINAL ACTION
v.                                   )
                                     )                 No. 14-20014-04-KHV
JUSTIN WHEELER,                      )
                                     )
                         Defendant. )
_____________________________________)

                                            ORDER

       This matter is before the Court on defendant’s Motion To Continue Sentencing (Doc. #329)

filed December 1, 2015. Defendant asks the Court to extend the date for sentencing some three

months or more. For reasons stated below, defendant’s motion is overruled.

       A grand jury returned an indictment in this matter some 19 months ago. See Superseding

Indictment (Doc. #32) filed May 14, 2014. Defendant pled guilty one year ago. See Petition To

Enter Plea Of Guilty And Order Entering Plea (Doc. #160) filed December 1, 2015.              On

September 14, 2015, the Probation Office filed the final presentence investigation report which

indicates that the parties do not have any unresolved objections. Presentence Investigation Report

(Doc. #307). Defendant seeks an extension until a date after March 15, 2016 so that counsel can

“further discuss this case with Mr. Wheeler and to continue in discussions with the AUSA Sheri

Catania relating to issues that will ultimately have an impact on the sentencing of Mr. Wheeler.”

Doc. #329 at 1. Defendant does not explain what specific discussions are necessary and why he

could not accomplish such preparation in the past year. Delays of sentencing approaching one year

are generally considered presumptively prejudicial to defendant. United States v. Batie, 433 F.3d

1287, 1290 (10th Cir. 2006). Defendant’s right to a speedy trial includes a speedy sentencing. See

United States v. Yehling, 456 F.3d 1236, 1243 (10th Cir. 2006); Perez v. Sullivan, 793 F.2d 249,
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253 (10th Cir. 1986); see also Pollard v. United States, 352 U.S. 354, 361 (1957) (assuming that

sentencing is part of Sixth Amendment speedy trial protections). Routine continuances of

sentencing also contribute to court congestion and backlog. Accordingly, the Court overrules

defendant’s motion.

       IT IS THEREFORE ORDERED that defendant’s Motion To Continue Sentencing

(Doc. #329) filed December 1, 2015 be and hereby is OVERRULED. Sentencing remains

scheduled for December 8, 2015 at 9:00 a.m.

       Dated this 3rd day of December, 2015 at Kansas City, Kansas.

                                              s/ Kathryn H. Vratil
                                              KATHRYN H. VRATIL
                                              United States District Judge




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